 Exhibit 1
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REDACTED
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                   BOSTON DIVISION



Typemock, LTD.,

                 Plaintiff,
                                                    Case No.: 1:17-cv-10274-RGS
        v.

Telerik, Inc.,                                      JURY TRIAL DEMANDED

                 Defendant.



                         DEFENDANT TELERIK, INC.’S
             ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS

        Telerik, Inc. (“Telerik”) hereby answers Typemock, LTD’s (“Typemock”) Complaint for

Patent Infringement (“Complaint”) as follows, and Telerik denies each of Typemock’s

allegations, except as expressly set forth below.

                                         THE PARTIES

1.      Telerik is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in ¶ 1 of the Complaint, and therefore, denies these allegations.

2.      Telerik admits that it is a corporation organized under the laws of Delaware. Telerik

admits that process may be served through its registered agent – Corporation Service Company

d/b/a CSC-LAWYERS INCO, 211 E. 7th Street Suite 620, Austin, TX 78701. Except as

expressly admitted, Telerik denies the allegations in ¶ 2 of the Complaint.

                                 JURISDICTION AND VENUE

3.      Telerik admits that Typemock purports to bring an action for alleged patent infringement.

Telerik admits that this Court has subject matter jurisdiction over claims for alleged patent
infringement. Telerik denies that it has committed acts of patent infringement. Except as

expressly admitted, Telerik denies the allegations in ¶ 3 of the Complaint.

4.      Telerik admits that this Court has personal jurisdiction over Telerik for the purposes of

this action. Telerik denies that it has committed acts of patent infringement. Except as expressly

admitted, Telerik denies the allegations of ¶ 4.

5.      Telerik admits that venue is proper in the Western District of Texas and the District of

Massachusetts. Telerik denies that the Western District of Texas is the most convenient venue

and responds that the District of Massachusetts presents a far more convenient forum for this

action. Except as expressly admitted, Telerik denies the allegations of ¶ 5.

           TELERIK’S PURPORTED COPYING OF TYPEMOCK ISOLATOR

6.      Telerik is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in ¶ 6 of the Complaint, and therefore, denies these allegations.

7.      Telerik admits that it develops software tools and components for web, mobile and

desktop platforms, as well as application development, reporting, and quality assurance. Telerik

admits that JustMock is one of its products. Except as expressly admitted, Telerik denies the

allegations of ¶ 7.

8.      Telerik is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in ¶ 8 of the Complaint, and therefore, denies these allegations.

9.      Telerik is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in ¶ 9 of the Complaint, and therefore, denies these allegations.

10.     Telerik released one or more versions of JustMock. Except as expressly admitted, Telerik

denies the allegations in ¶ 10 of the Complaint.

11.     Denied

                                                   2
12.    Denied

13.    Telerik is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in ¶ 13 of the Complaint, and therefore, denies these allegations.

14.    Telerik admits that Typemock sent a “Cease and Desist” letter dated November 4, 2016.

Except as expressly admitted, Telerik denies the allegations in ¶ 14 of the Complaint.

15.    Telerik admits that Typemock sent a “Cease and Desist” letter dated November 4, 2016.

Except as expressly admitted, Telerik denies the allegations in ¶ 15 of the Complaint.

                                             COUNT I

16.    To the extent a response is required to the allegations of ¶ 16 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-15 of the Complaint. Any

allegations of ¶¶ 1-15 of the Complaint not expressly admitted herein are denied.

17.    Telerik admits that U.S. Patent No. 8,352,923 is entitled “Method and System For

Isolating Software Components.” Telerik admits that U.S. Patent No. 8,352,923 is dated January

8, 2013. Telerik is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in ¶ 17 of the Complaint, and therefore, denies these

allegations.

18.    Telerik admits that it provides some of the information on the website:

http://www.telerik.com/products/mocking.aspx. Telerik is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in ¶ 18 of the

Complaint, and therefore, denies these allegations.

19.    Telerik is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in ¶ 19 of the Complaint, and therefore, denies these

allegations.

                                                  3
20.    Telerik is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in ¶ 20 of the Complaint, and therefore, denies these

allegations.

21.




Telerik admits that the above example appears at

http://www.telerik.com/products/mocking.aspx#elevated-mocking. Except as expressly admitted,

Telerik denies the allegations in ¶ 21 of the Complaint.

22.    Denied.

23.    Denied.

24.    Denied.

25.    Denied.

26.    Denied.

27.    Denied.

28.    Denied.

29.    Denied.

                                                4
                                            COUNT II

30.    To the extent a response is required to the allegations of ¶ 30 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-29 of the Complaint. Any

allegations of ¶¶ 1-29 of the Complaint not expressly admitted herein are denied.

31.    Telerik is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in ¶ 31 of the Complaint, and therefore, denies these allegations..

32.    Denied.

33.    Denied.

34.    Denied.

35.    Denied.

36.    Denied.

37.    Denied.

38.    Denied.

39.    Denied.

                                           COUNT III

40.    To the extent a response is required to the allegations of ¶ 40 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-39 of the Complaint. Any

allegations of ¶¶ 1-39 of the Complaint not expressly admitted herein are denied.

41.    Denied.

42.    Denied.

43.    Denied.

44.    Denied.

45.    Denied.

                                                 5
46.    Denied.

                                           COUNT IV

47.    To the extent a response is required to the allegations of ¶ 47 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-46 of the Complaint. Any

allegations of ¶¶ 1-46 of the Complaint not expressly admitted herein are denied.

48.    Telerik admits that U.S. Patent No. 9,251,041 is entitled “Method and System For

Isolating Software Components.” Telerik admits that U.S. Patent No. 9,251,041 is dated

February 2, 2016. Telerik is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations contained in ¶ 48 of the Complaint, and therefore, denies

these allegations.

49.    Denied.

50.    Denied.

51.    Denied.

52.    Denied.

53.    Denied.

54.    Denied.

55.    Denied.

56.    Denied.

                                           COUNT V

57.    To the extent a response is required to the allegations of ¶ 57 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-56 of the Complaint. Any

allegations of ¶¶ 1-56 of the Complaint not expressly admitted herein are denied.

58.    Denied.

                                                6
59.    Denied.

60.    Denied.

61.    Denied.

62.    Denied.

63.    Denied.

64.    Denied.

                                          COUNT VI

65.    To the extent a response is required to the allegations of ¶ 65 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-64 of the Complaint. Any

allegations of ¶¶ 1-64 of the Complaint not expressly admitted herein are denied.

66.    Denied.

67.    Denied.

68.    Denied.

69.    Denied.

70.    Denied.

71.    Denied.

                                          COUNT VII

72.    To the extent a response is required to the allegations of ¶ 72 of the Complaint, Telerik

incorporates by reference its responses to the allegations in ¶¶ 1-71 of the Complaint. Any

allegations of ¶¶ 1-71 of the Complaint not expressly admitted herein are denied.

73.    Denied.

74.    Denied.




                                                7
                                       PRAYER FOR RELIEF

75.       Telerik denies that Typemock is entitled to any relief, including, but not limited to, ¶¶ A-

F of Typemock’s Prayer for Relief.

                                   DEMAND FOR JURY TRIAL

76.       The allegations in ¶ 76 of the Complaint are legal statements to which no response is

required.

                                    AFFIRMATIVE DEFENSES

          Telerik asserts the following affirmative defenses and reserves its right to amend its

Answer as additional information becomes available:

1.        The Complaint fails to state a claim upon which relief can be granted.

2.        The claims of U.S. Patent Nos. 8,352,923 (the “’923 patent”) and 9,951,041 (the “’041

patent”) are invalid for failing to comply with one or more requirements of the Patent Laws of

the United States, including, but not limited to, 35 U.S.C. §§ 101, 102, 103 and/or 112.

3.        Telerik does not infringe and has not infringed either literally or under the doctrine of

equivalents any valid and enforceable claim of the ’923 patent and the ’041 patent.

4.        Telerik does not contribute to or induce others to infringe any valid and enforceable claim

of the ’923 patent and the ’041 patent.

5.        The claims of the ’923 patent and the ’041 patent are unenforceable on account of

Typemock’s misrepresentations of small entity status to the United States Patent and Trademark

Office.

6.        35 U.S.C. § 287 limits Typemock’s claims for damages and prayer for damages.

7.        Typemock’s alleged claims for relief for patent infringement are barred under the

doctrine of prosecution history estoppel, and Typemock is estopped from claiming that the ’923

                                                    8
patent and the ’041 patent cover or include any accused Telerik method, system, apparatus,

and/or product.

8.     Typemock’s claims are barred in whole or in part by the doctrines of estoppel and/or

equitable estoppel.

9.     Telerik’s accused technology is licensed.




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     Excerpt from April 19, 2018 Amended Infringement Contentions (red boxed emphasis added)

Prior to serving these amended contentions, Typemock served initial and first amended

infringement contentions,




                                       COUNTERCLAIMS

          For its counterclaims against Typemock, Telerik alleges as follows:

                                      NATURE OF ACTION

1.        Telerik seeks a declaratory judgment that no valid and enforceable claim of the ’923

patent and the ’041 patent are, or have been, infringed by Telerik.



                                                 10
2.     Telerik seeks a declaratory judgment that the ’923 patent and the ’041 patent are invalid

for failure to comply with the Patent Laws of the United States, including, but not limited to, 35

U.S.C. §§ 101, 102, 103 and/or 112.

                                         THE PARTIES

3.     Telerik is a corporation formed under the laws of the state of Delaware, and maintains its

corporate headquarters at 201 Jones Road, Waltham, MA 02451 USA.

4.     Upon information and belief, based on Typemock’s allegations in this action, Typemock

is a company organized under the laws of Israel.

                                JURISDICTION AND VENUE

5.     These counterclaims arise under the Patent Laws of the Unites States, 35 U.S.C. §§ 101,

et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq.

6.     This court has subject matter jurisdiction over the counterclaims pursuant to 28 U.S.C. §§

1331, 1338(a), 2201 and 2202.

7.     Venue is proper in the United States District Court for the District of Massachusetts.

                                 FACTUAL BACKGROUND

8.     In its Complaint, Typemock alleges that Telerik’s JustMock product infringes claims of

the ’923 patent and the ’041 patent.

9.     Telerik denies that it has infringed a valid and enforceable claim of the ’923 patent and

the ’041 patent.

10.    The ’923 patent and the ’041 patent are invalid for failure to comply with the Patent Laws

of the United States, including, but not limited to, 35 U.S.C. §§ 101, 102, 103 and/or 112.

        COUNTERCLAIM – COUNT I DECLARATORY JUDGMENT OF NON-

                          INFRINGEMENT OF THE ’923 PATENT

                                                11
11.     Telerik incorporates by reference the allegations of ¶¶ 1-10 of these Counterclaims as if

fully set forth herein.

12.     Typemock filed suit against Telerik and has alleged in its Complaint that Telerik is

infringing the ’923 patent.

13.     Telerik has reasonable apprehension that Typemock will continue to assert claims of

infringement of the ’923 patent against Telerik.

14.     Telerik has not infringed and does not infringe, either directly or indirectly, any valid and

enforceable claim of the ’923 patent.

15.     Typemock’s action in asserting that Telerik infringes the ’923 patent have caused an

actual and justiciable case or controversy within the jurisdiction of this Court under 28 U.S.C. §§

2201 and 2202 regarding Telerik’s non-infringement of the ’923 patent.

16.     Telerik is therefore entitled to a declaratory judgment that it has not and does not infringe

the ’923 patent.

        COUNTERCLAIM – COUNT II DECLARATORY JUDGMENT OF NON-

                          INFRINGEMENT OF THE ’041 PATENT

17.     Telerik incorporates by reference the allegations of ¶¶ 1-10 of these Counterclaims as if

fully set forth herein.

18.     Typemock filed suit against Telerik and has alleged in its Complaint that Telerik is

infringing the ’041 patent.

19.     Telerik has reasonable apprehension that Typemock will continue to assert claims of

infringement of the ’041 patent against Telerik.

20.     Telerik has not infringed and does not infringe, either directly or indirectly, any valid and

enforceable claim of the ’041 patent.

                                                 12
21.     Typemock’s action in asserting that Telerik infringes the ’041 patent have caused an

actual and justiciable case or controversy within the jurisdiction of this Court under 28 U.S.C. §§

2201 and 2202 regarding Telerik’s non-infringement of the ’041 patent.

22.     Telerik is therefore entitled to a declaratory judgment that it has not and does not infringe

the ’041 patent.

 COUNTERCLAIM – COUNT III DECLARATORY JUDGMENT OF INVALIDITY OF

                                        THE ’923 PATENT

23.     Telerik incorporates by reference the allegations of ¶¶ 1-10 of this Counterclaim as if

fully set forth herein.

24.     Typemock filed suit against Telerik and has alleged in its Complaint that Telerik is

infringing the ’923 patent.

25.     The ’923 patent is invalid for failure to comply with the Patent Laws of the United States,

including, but not limited to, 35 U.S.C. §§ 101, 102, 103 and/or 112.

26.     Typemock’s action in asserting that Telerik infringes the ’923 patent have caused an

actual and justiciable case or controversy within the jurisdiction of this Court under 28 U.S.C. §§

2201 and 2202 regarding the validity of the ’923 patent.

27.     Telerik is therefore entitled to a declaratory judgment that the ’923 patent is invalid.

 COUNTERCLAIM – COUNT IV DECLARATORY JUDGMENT OF INVALIDITY OF

                                        THE ’041 PATENT

28.     Telerik incorporates by reference the allegations of ¶¶ 1-10 of this Counterclaim as if

fully set forth herein.

29.     Typemock filed suit against Telerik and has alleged in its Complaint that Telerik is

infringing the ’041 patent.

                                                 13
30.       The ’041 patent is invalid for failure to comply with the Patent Laws of the United States,

including, but not limited to, 35 U.S.C. §§ 101, 102, 103 and/or 112.

31.       Typemock’s action in asserting that Telerik infringes the ’041 patent have caused an

actual and justiciable case or controversy within the jurisdiction of this Court under 28 U.S.C. §§

2201 and 2202 regarding the validity of the ’041 patent.

32.       Telerik is therefore entitled to a declaratory judgment that the ’041 patent is invalid.

                                        RELIEF REQUESTED

          Telerik prays for relief as follows:

A.        Dismiss with prejudice Typemock’s claims against Telerik;

B.        Deny Typemock’s request for damages, costs, expenses, attorneys’ fees and interest;

C.        Enter Judgment in favor of Telerik against Typemock;

D.        Declare that Telerik and its products and services have not infringed and do not infringe,

directly or indirectly, literally or under the doctrine of equivalents, any valid and enforceable

claim of the ’923 patent and the ’041 patent, willfully or otherwise;

E.        Declare that the claims of the ’923 patent and the ’041 patent are invalid;

F.        Declare this case to be exceptional pursuant to 35 U.S.C. § 285 and award to Telerik its

attorneys’ fees and costs incurred in connection with this action; and

G.        Grant Telerik other and further equitable relief or legal relief as the Court deems just and

proper.




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Dated: DRAFT                               Respectfully submitted,

                                           /s/ DRAFT
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                                           Attorneys for Telerik, Inc.




                                  Certificate of Service

    The undersigned hereby certifies that a true and correct copy of the above and
    foregoing document has been served on this XX day of June, 2018 to all counsel of
    record who are deemed to have consented to electronic service via the Court’s
    CM/ECF system.


                                           /s/ DRAFT
                                           Steven M. Bauer




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